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               United States Court of Appeals
                                For the First Circuit
                               ____________________________
No. 14-1024

                                       UNITED STATES

                                            Appellee

                                                v.

                                     RONALD E. BROWN

                                     Defendant - Appellant

                               ____________________________

                                         JUDGMENT

                                   Entered: March 20, 2014
                                 Pursuant to 1st Cir. R. 27.0(d)

          Upon consideration of defendant-appellant's motion for voluntary dismissal, it is hereby
ordered that this appeal be voluntarily dismissed pursuant to Fed. R. App. P. 42(b). Defendant-
appellant's appeal shall proceed under No. 13-2544.

       Mandate to issue forthwith.

                                                     By the Court:

                                                     /s/ Margaret Carter, Clerk.



cc:
Dina Michael Chaitowitz
Robert Edward Richardson
Kenneth G. Shine
Michael Capen Andrews
Ronald E. Brown
David J. Apfel
